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 4                                 UNITED STATES DISTRICT COURT

 5                                        DISTRICT OF NEVADA
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 7    UNITED STATES OF AMERICA,                        Case No. 3:18-cr-00019-LRH-CLB

 8                                            Plaintiff, ORDER

 9            v.

10    STONEY PRIOR,

11                                         Defendant.
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13          On December 2, 2021, the Government motioned the Court to clarify its earlier ruling that
14   members of the public should not wear dress or have any visual representations that appeal to
15   sympathy for the victims or attempt to illicit strong feelings or prejudice or support for either side.
16   ECF No. 292 (citing ECF Nos. 179, 239). The Court now clarifies that its ruling was directly
17   related to jury selection and the jury trial, and it does not apply to hearings before the Court alone.
18   IT IS THEREFORE ORDERED that members of the public may wear expressive clothing and/or
19   other visual representations memorializing the victims and the plight of murdered and missing
20   indigenous women at the Defendant’s sentencing, currently scheduled for December 7, 2021.
21          IT IS SO ORDERED.
22          DATED this 3rd day of December, 2021.
23                                                          LARRY R. HICKS
                                                            UNITED STATES DISTRICT JUDGE
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